                              NO.  07-12-0286-CV
	IN THE COURT OF APPEALS
	FOR THE SEVENTH DISTRICT OF TEXAS
	AT AMARILLO
	PANEL E
	JULY 23, 2012	____________________________
	RANDY JENNINGS,
				Appellant

                                      V.
                                       
                            WELLS FARGO BANK, N.A.,
                           				Appellee
	___________________________
	
                FROM THE 353rd DISTRICT COURT OF TRAVIS COUNTY;
	NO. D-1-GN-10-001595; HON. TIM SULAK, PRESIDING
                          __________________________
                              Order of Dismissal
                          __________________________
Before QUINN, C.J., CAMPBELL, J., and BOYD, S.J.
Appellant Randy Jennings filed a notice of appeal on January 30, 2012, but failed to pay the $175 filing fee required under Texas Rule of Appellate Procedure 5.  We informed appellant, by letter dated July 10, 2012, that the filing fee was outstanding and that the appeal would be dismissed unless it was paid by July 20, 2012.  Tex. R. App. P. 42.3(c); see Holt v. F.F. Enterprises, 990 S.W.2d 756 (Tex. App. - Amarillo 1998, pet. ref'd).  The fee has not been paid to date.  Nor does the record show appellant to be indigent or having requested leave to proceed as an indigent.


Because appellant has failed to pay the requisite filing fee as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 
                                                               Per Curiam
